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EXHIBIT A

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Software Subscription Agreement

Agreement Number 1614

Positive Software Systems, Inc., 14881 Quorum Dr., Suite 440, Dallas, Texas 75240 ("Positive"), {s entering into this
Software License Agreement (“Agreement”) with the following organization or individval (Customer): New
Century Mortgage, 18400 Von Karman, Ste 1000, Irvine, CA 92612.

Customer wishes to subscribe to. software products (“Products” as defined bélow) from Positive subject to the terms
amd conditions of this Agreement and the terms of any Product Order (*Order” as defined below} that Customer
submilts to Positive and Positive accepts.

1, DEFINITIONS

A.
B.

“Anniversary Date" means ihe annual recurrence of the Delivery Date of a Product.
“Delivery Date" means the date a Product is received by Customer ftom Positive.
*Subscription Term” means the period asset forth in section 3 hereof:

“Confidential Information” means any materials deliverad to-the other party or information disclosed to it
under this Agreement, all information that has or could have commereial value or other utility in the business
or prospective business of a: party or its subsidiaries or affiliates, and all information of which unauthorized
disdlosure could be detrimental to the interests of & party-or its subsidiaries or affiliates whether of not such
information is identified as confidential information, exvept any such information which (i) was rightfully in
one party's possession pridr to disclosure by the other party; GD was rightfully obtained by 2 party from a
third party who lawfully developed the informution independently of the other party or obtained such
information under conditions which did not require that it be Held in confidence: (1 was independently
developed by a party without use of er reference to any other Confidential Information; or (iv) was, at the
time of disclosure or thereafter becomes, through wo. ast or failure to act on the part of a party, generally
available to the public,

By example and without limitation, Confidential Information inéludes but is not limited to any and all
information of the following or similar nature, whether transmitted verbally, electronically or in writing:
copyright, service mark and trademark registrations and applications, patents and patent applications,
licenses, agreements, unique and special méthods, techniques, procedures, proceskes, routtivés, formulas,
know-how, trade secrets, innovations, inventions, discoveries, improvements, research or development and
test results, research papers, specificétions, technical data and/or information, software, quality contro! and
manufacturing procedures, forraats, plans, sketches, drawings, models, custorier lists, customer and supplier
identities and characteristics, sales figures, pricing Information, marketing plans, stratégies, forecasts,
financial information and projections, budgets, business plans and abjectives, concepts, ideas ‘and amy other
information or procedures that are treated as or designated secret or confidential by-Positive

*Repular Maintenance" means the provision by Positive during the applicable period es stated in Exhibit B
and attiched hereto, in exchange for payment by Customer of the applicable Regular Maintenance fees as
stated in Exhibit A and attached hereto, of (i) reasonable telephone support, (ii) any corrections and/or bug
fixes made to a licensed Product, including such maintenance as may be required to ensure that the Product
complies with requirements of Section 6(E).

"Other Maintenance” means the provision by Positive dufing the applicable period as stated in Exhibit B and
attached hereto, in exchange for payment by Customer of the applicable Maintenance fees as stated in Exhibit
A and attached hereto.

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G. “Installation Services” and “Professional Services* means the provision by Positive as stated in Exhibit C and
attached hereto, in exchange for payment by Custamer of the applicable Installation/Professional Services
fees as stated in Exhibit A and attached hereto.

H. “Orders” for Product licenses may be submitted by Customer In a form reasonably acceptable to Positive.
Any Orders shall expressly incorporate the terms and conditions of this Agreement, must be signed by
Customer, are subject to acceptance by Positive and upon acceptance shall be attached hereto. The initial
Order is attached hereto-as Exhibit "A".

1 “License” means a license, which has aterm commencing on the Delivery Date of a Product and continuing
in perpetuity, subject to the terms of this Agreement.

i "Product” means‘a software program product(s) identified inthe Order.
K. “Renewal Date” is December 31" of every-consecutive year.

L. User License” means a non-assignable, non-exclusive right and Hcense, without the right to grant sub-
licenses, to use the Product, solely for Customer's own internal business purposes, on any Customer owned
workstation in North Amierica, which license is granted pursuant to this Agreement and which has a term
commencing on the Delivery Date of a Product and continuing for the doration of the Subscription Term,
subjectto the terms of this Agreement. Each user must have its own Heonse.

M. “Branch” means a remote business unit of Customer (up to 10 employezs)

N, *“Call-Ceriter” means a business unit of Customer integrated with a dialer equipment and responsible for
outbound / inbound telemarketing.

2. GRANT

Upon issuance of an Order by Customer and acceptance of the Order by Positive, Positive grants to Customer, and
Customer accepts from Positive, a perpetual, non-assignable, sion-exclusive right and Heonse, without the right to
grant sub-licenses, to use, solely for Customer's own internal business purposes, each Product set forth on each
Order, subject to the terms of this Agreement. The Software ordered is identified as either “Server” software or
“Client” software. Server Software is defined as software installed on @ networked file server that permits access to
the software through a local ares network, wide area network or other telecommunication channels including the
Internet. Client Software is defined as software installed on a personal computer central processing unit which isnot
a Sle server. Customer's use of Server Software may be-only on a single file server which is accessible only by the
number of remote computers identified in the Order, ‘The software shall be deemed “accessible” if if may be
executed and called into resident memory by a linked computec, whether or not it is actually so accessed. Client
Software may only be used on the single computer central processing unit on which it is installed and may not be
used or accessed by other workstations. Customer may reproduce, at no additional charge, for disaster recovery
purposes, ateasonable number of copies of the Product, Customer will reproduce all confidentiality and. proprietary
notices on the Product and maintain an accurate record of the location of each copy df the Product. This Heense is
for the executable code version of the Product only.

3. SUBSCRIPTION TERM

Unless otherwise terminated or canceled under the provisions of this Agreement, the term of this Agreement and
each User License shall be for a two (2) year period commencing on the date of execution hereof by Positive. This
Agreement will automatically be extended for additional-one (1):year periods unless terminated with-ninety (90) days
written notice by the Customer. Any renewal shall be based on the same terms and conditions as set forth herein
except for reasonable adjustment for pricing, if necessary, which shall be negotiated by the parties in’good faith.
Such price adjustment shall not be increased more than five (5%) percent per annum. Any such adjustments must be
set forth in writing as‘en Addendum to this Agreement.

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4, MAINTENANCE / UPGRADES

A. Positive will provide Regular Maintenance to Customer based on the same terms and costs outlined by the
Software License Agreement(s} previously executed by both parties. Positive will provide Subscription
Upgrades to Customer at no additional charge for the Subscription Term for each User License granted
hereunder; previded, however, that Positive receives from the Customer all applicable annual Maintenance and
Subscription fees by the Renewal Date, Cost for Regulur Maintenance for all User Licenses will remain active
for renewal under the terms-of the previous Sofware License Agreement(s), Upon payment.of'a Product Order
for Product Subscription, as applicable, Customer will receive the Subscription Upgrades, which shall
sérnmence on the first (ist) day after the Delivery Date of the Product and shall end on Renewal Date,
Subsequently ‘Product Maintenance and Subscription shall automutically renew annually on the Renewal Date
for suceessive one (1) year terms under the then current fees; provided, hownver, that Customer may terminate
Product Maintenance or Product Subscription for any Product licensed by providing written notification io
Positive at least ninety (90) days prior to the next Renewal Date. Upon terntination of Product Subscription, all
User Licerises to subscribed version(s} of the Product will terminate. Positive may terminate its Product
Subscription and Maintenarice obligations upon material breach by Customer of any of its obligations; under
this Agreement, which remain incurred thirty G0) days after Customer has received written notice from
Positive of the breach. If Customer modifies any Preduct and it is deterrnined by Positive that. such
modification has caused a malfunction in the Product, Positive shall not be obligated to provide Maintenance
Yor the modified Product, Positive will:provide Customer written notice of the maintenance and product
subscription fees for any renewal term not less than ninety (90) days prior to the Renewal Date, Additional
charges may be applicable if support service js provided as a result of the following: fire, natural disaster,
neglect, misuse, abuse, war, ynauthorized modifications, non-Product approved hardware or software, changes
or failures in the telephony nerwork, desktop or host computer environments; or damage resulting from
environmental considerations such as electrical power, heat, cold, or hurnidity.

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5. TERMS OF PAYMENT

A. _ Installation/Professional Service Fees. 50 % of Professional Service Fees will be due upon execution hereof,
50% of Professional Service Fees will be due upon installation.

B. Annual Subscription Payments. 100% of Subscription Fee, as defined by Schedule A, will be due upon
execution hereof. Subscription payment per each user based on number of licensed users as defined by
Schedule A and agreed by this Agreement shall be payable annually of the Subscription Renewal Date;
provided however, that no renewal for Subscription Fee shall be due until December 31", 2001.

c. Travel and Expenses Fees, 100% of Travel and Expenses will be due within thirty (30) days from date of
receipt of an invoice. Positive agrees to adopt Customer's internal ravel policy. Customer agrees to grant
Positive flexibility and authority to book full fare air tickets, limited to coach service. Round-Trip air travel
must be counted and billed as one consulting man-day per person traveling.

D. Service Charges/Taxes. Service charges in the amount of the lesser-of the maximum rate permitied by law or
one and one-half percent (1-1/2%) per month, may accrue on all accounts past due by more than thirty (30)
days, Customer agrees.to be responsible for and to pay any sales, personal property, use, VAT, excise,
withholding or any other taxes that may be imposed, based on the license, use or possession of any Product
licensed hereunder, excluding taxes based upon net incorne payable by Positive. Customer agrees to make
direct payment of such taxes or reimburse Positive for payments itenakes on behalf of Customer.

6 LIABILITY/WARRANTY

A. Positive warrants that it has the right to license ayy Product licensed hereunder. Positive also warrants that the
licensed Product does not infringe on any-patent, trademark, trade secret or copyright of a third party arising under
the laws of the United States of America and Positive hereby agrees to indemnify, protect, defend, and hold
Customer harmless from all claims, suits, actions, losses, damages, judgments, costs and expenses which may be
sustained by Customer for an infringement of any such patent, trademark, trade sceret, or copyright by. Positive:
provided that (7) Customer gives prompt written notice of any suit.to Positive, and (ii) Positive shall have sole
control of the defense of any action or claim and all negotiations for settlement or compromise thereof, Customer
may elect to participate in any such action with an attorney of its own choice and at its own expense. In the event
Customer is precluded by a court of competent jurisdiction from using a Product as 4 result of the infringement by
Positive of any patent, trademark, trade secret, or copyright of a third party, Positive may, in its reasonable
discretion, (3) obtain the right to use the Product for the Customer, or (ii) replace or modify the Product so that it
no longer infringes, or (fii) if neither (i) or (ii) above is commercially feasible, in Positive's reasonable discretion,
then Positive may terminate the License for the affected Prodict and issue to Customer a pro-rata refund of the
License fees paid by Customer based on a useful life.of five (5) years, If Customer does not notify Positive, as
required herein, Customer's nights under this Section shall terminate,

B. Positive warrants that the Product is designed to be used prior to, during ard after the calendar year 2000 A.D.
and will manage and manipulate data involving dates, intluding single century formulas and multi-century
formulas, or formulas involving any combination of the-year 2000 and/or prior dates and/or subsequent dates, and
will not cause-an abnormally ending scenario within the application or generate incorrect values or invalid results
involving such dates, specifically inchiding date dats which represents or references different centuries or more
than one century,

C. Customer agrees that, except as provided in Paragraph A and B above, Positive's liability for direct damages, if
any, shall not exceed the initial License fees paid to Positive by Customer for use of the Product(s) under this
Agreement,

D. No action, regardless of form, arising out of this Agreement may be brought by either party more than two (2)
years alter the injured party has knowledge of the occurrence, which gives rise to the cause of action,

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F, THE FOREGOING CONDITIONS AND WARRANTIES ARE IN LIEU OF ALL OTHER CONDITIONS,
REPRESENTATIONS AND WARRANTIES, EXPRESS OR IMPLIED, STATUTORY OR OTHERWISE, BY
POSITIVE OR ANY OTHER PARTY INCLUDING BUT NOT LIMITED TO, ANY IMPLIED WARRANTY
OF MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR PURPOSE. WITH THE EXCEPTION OF
POSITIVES LIABILITY AS SET FORTH IN SECTION 6(A) AND 6(8), POSITIVE SHALL NOT BE
LIABLE FOR ANY LOSS OR DAMAGE, INCLUDING, WITHOUT LIMITING THE GENERALITY OF THE
FOREGOING, ANY INDIRECT, INCIDENTAL, SPECIAL OR CONSEQUENTIAL DAMAGES, IN
CONNECTION WITH OR ARISING FROM THE FURNISHING, PERFORMANCE, OR USE OF THE
PRODUCT (8) OR SERVICES PROVIDED HEREIN, REGARDLESS OF ANY LAW ANDYOR
REGULATION WHICH STATES OTHERWISE.

7. NONDISCLOSURE |

A. Both Parties agree to regeive and hold in confidenge and not disclose in any manner to thicd parties (other than
consultants under contract with Customer, provided the consultant agrees in writing to be bound by the
restrictions on use and disclosure as set forth hereiti) any Product or any other materials delivered to a pasty or
information disclosed by the other party (collectively the "Confidential Information”) by a party under any
License. A Party shall use any Cotifidential Information only internally within its own company in the pursuit of
its own internal business interests. A Party shall not sell, lease, license or otherwise transfer, with or without
consideration, any Corifidential Information to any third party or permit any third party (other than a consultant as
set forth above) to reproduce or copy or otherwise use or see arly Confidential Information in any form and shall
ube dl] reasonable efforts to-ensure that. no improper or unauthorized use of any Confidential Information is made.
In addition, Customer agrees that it will not reverse engineer, decompile or derive the sourve code of any Product.
Customer acknowledges that the Product is considered the Confidential Information of the other-party, Positive
agrees tO escrow the source code of the Product with a mutually agreeable thind party to be released to ‘the
Customer in the event Posilive ceases to maintain the Product or becomes ittsolvent or subject.to a bankruptcy
proceeding.

B. Customer shall provide reasonuble assistance to Positive in the prosecution of any third parties -who violate any of
Positive's rights under this Agreement and the Software License Agreement or rights provided by law with respect
to any Product licensed hereunder to Customer. Positive shall bear any associated cost and expense provided that
such violation is not the result of a breach by Clistomer of its obligations hereunder, Customer shall néthaveiny
obligation to. hold any information in confidence if the information was (1) rightfully disclosed to Customer
without any obligation to keep such information confidential prior to execution of this Agreement, (2) in the
public domain through-no fault of Customer, or (3) is developed by Customer independently. of any proprietary
information contained in the Confidential Information,

C. Customer agrees that all Confidential Information is valuable, confidential and proprietary property of Positive
and shall remain the exclusive property of Positive. Nothing in this Agreement shall be construed as granting any
rights te Customer, by license or otherwise, to.any Confidential Information,

D."In addition to the provisions of Section 13 hereof regarding return of Products upon termination of this
Agreement, Customer agrees to retum to Positive, or promptly destroy at the direction of Positive, at any time
upon request of Positive for any reason, any other Cofifidential Information, including any soiree of dlectronic
information and all records, notes, documents, drawings, prototypes, specifications, programs, data, devices and
all other materials containing or pertaining to any Confidential Information.

E, In the event that Customer is requested in any proceeding to disnlose any Confidential Information, Customer
shall give Positive prompt notice of such request so that Positive may seék an appropriate protective order, If in
the absence of a protective order, Customer is nonetheless compelled to disclose such Confidential Information,
Customer may disclose such information to the extent compelled to do so in such proceeding without lability
hereunder, provided however, Customer’shall give Positive written notice of the information to be disclésed as far
in advance of its disclosure as is practicable and use its best efforts to obtain assurances that confidential treatment
will be accorded to such’ information. Customer shall provide reasonable assistance to Positive in the prosecution
of any third parties who violate any of Positive's rights under this Agreement or rights provided by law with
Tespect to any Product licensed beretndir 10 Customer. Positive shall bear any associated cost and expense;
provided that such violation is not the result of a breach by Customer of its obligations hereunder,

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F. Customer understands and acknowledges that any disclosure or misappropriation of any Confidential Information
in violation of this Agreement may cause Positive irreparable harm, the amount of which may be difficult to
ascertain, and therefore agrees that Positive shall have the right to apply to a court of competent jurisdiction for
specific performance and/or an order restraining and enjoining any such further disclosure or breach and for such
other relief as Company shall deem appropriate. Such right of Positive is to be in addition to the remedies
otherwise available to Positive at law or in equity. Customer expressly waives the defense that a remedy in
darnages will be adequate ard any requirement for the posting of a bond by Positive in an action for specific
performance or injunction. Customer hereby agrees to indemnify Positive against any and all losses, damages,
claims, expenses and attomeys’ fees and costs incurred or suffered by Positive as a result of any breach of this
Agreement by Customer or in connection with the enforcement of Customer's obligations hereunder. Customer
agrees that any violation of any covenant herein shall be deemed an attempt to circumvent Positive, and if
Customer is determined 10 be delinquent hereunder, Customer shall, without recourse, pay to Positive, its
assignees or designees, the greater of (a} dauble the total of wll ‘fees and payments which would have been due to
Positive under the term of this Agreement, had there been no circumvention, or (b) the sui of United States
Dollars wo-hundred fifty thousand ($US250,000), in addition to all court costs, lawyers fees, travel-expenses and
any other charges deemed appropriate by the courts or arbitrators appointed thereby.

G. Customer agrees that Positive may use Customer as a reference for the Product and for Positive: Upon
reasonable notice, Custamer will accept calls and provide referénces to prospective custorners and product
reviewers. Customby shall permit five (3) on-site demonstrations of the product per quarter upon request by
Positive provided that the site visit is scheduled during regular business hdurs and is an acceptable time for
Customer. Such prospect shall be required to execute a non-disclosure agreement in connection with such
demonstration covering such demonstration and any other information learned while on Customer's premises.

8. AUDIT

Positive reserves the tight to periodically audit Customer to ensure that Customer is not using any Positive Product
in violation of this Agreement or any Order. During Customer's standard. business hours and upon-prior written
notice, Positive may visit Customer and request that Customer make available any records pertaining to the Product
to Positive. The cost of any requested audit would be solely borne by Positive.

9. GOVERNING LAW

This Agreement, including any Order, shall for all purposes be deemed subject to the laws of the State of Texas,
USA.

10, SEVERABILITY; WAIVER

In the event that any one. or more of the provisions contained herein shall for any yeason be held to be unenforceable
in any-respect, such enforceability shall not affect any other provision of this Agreement, and this Agreement shall
then be construed as if such unenforceable provision(s) had never been contained herein. No term or provision
hereof thal] te déeivied Waived and no breach consented to unless such waiver or consent shall be in writing and
signed by both parties:

11. ASSIGNMENT

Neither Positive nor Custorner may assign this Agreement or any Order or otherwise convey any rights or
obligations under this: Agréement without the prior consent of the other party which consent shall trot be
unreasonable withheld. ‘Notwithstanding. the foregoing, Town and Country Credit shall have the right to assign to an
affiliate or sizbsidiary without consent from Positive. A reorganization, Imetger, sale, partnership change, assignment,
transfer or hypothecation -of any partnership or other ownership interest in Customer shall not be deemed an

assignment or sublease under the agreeinent. Neither the use by, nor stibletting to, any subsidiary or affiliate of
Customer of all of'a portion of this agreement shall be deemed an assignment under the agreement.

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12, NOTICE

Any notice or other communication required or permitted hereunder shall be given in writing to the other party at
such address as shall be given by either party to the other in writing. Such notice shall be deemed to have been given
when (i) delivered personally, {i)) sent via certified mail (return receipt requested) Gil} sexit via cable, telegram,
telex, telecopier, fax (all with confirmation of receipt), or (iv) by recognized air courier service.
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13. TERMS AND TERMINATION

The terms of this Agreement shall commence on the date it is executed by Positive and shall continue in effect until
ferminated as provided herein. Any Licetise for e Product may be terminated by Positive in the event that Customer
is in default under any Licerise hereunder subject to Customer's right to cure under Section 6 hereof. Upon
termination of any License hereunder, Customer shall return the Product and any copies made pursuamt fo Section
(2) and all related docurnentation to Positive. The provisions of Sections 5—12 and 15 shall survive termination of
this Agreement or any individual License,

14. ATTORNEY FEE'S

If any.action at law or in equity is brought to enforce or interpret the provisions of the Agreement, the
prevailing party in such action shall be awarded its attomeys’ fees and costs incurred, which shall be
payable whether or-not such action is prosecuted to judgrnent

15, ARBITRATION. |

If any of the Parties disagree with respect to whether any of the other Parties have breached any of the terms or
conditions of this Agreement, or if the Parties have a controversy, claim or dispute arising out of or related to the
terms and conditions of this Agréenient, the disdgreement shall be settled by binding arbitration in accordance with
the Federal Arbitration Act (FAA. The Party who demands arbitration will give written notice to the other Party
of the claim, controversy, monetary demand, and- requested relief at the time of its written notice to the other Party of
its intention to invoke arbitration. The Party receiving notice of intention to invoke arbitration will respond. in
writing te the claim or controversy within thirty (30) days and assert its counterclaims, if any. Upon-receipt of the
notice of intention to invoke arbitration, the-Partias shall work together to agree upon an arbitrator. If within forty
five (45) days of notice of arbitration, the Parties are unable to reach an ‘agreement as to an urbitrater, then the
American Arbitration Association (“AAA”) shall have the sole authority to appoint an arbitrator. However, the
arbitrator shall-be an attorney Heensed in Texas. ‘The Parties.apree that arbitration will take place in Dallas, Texas,
The arbitrator so selected shall then diligently conduct an arbitration proceeding in accordance with the FAA and
AAA. The decision of the arbitrator shall be final and conclusive .upon-the Parties, and a judgment upon-the award
may be entered in any court having jurisdiction. Bach Party expressly acknowledges that the other Party has the
right to undertake reasonable, but limited, discovery procedures in connection with the arbitration, proceeding in the
manner provided by the Texas Kules of Civil Procedure, and that-cach Party has the right to be represented by legal
counsel throughout the arbitration proceeding, All issues regarding discovery procedures and requests shall be
decided by the arbitrator. All documents in connection with any arbitration conducted shall be confidential, and shall
not.be disclosed to any third party, except as may be necessary for enforcement of the arbitration decision or for a
proper appeal or except as otherwise required by law. The arbitrator shall determine the rights and obligations of the
Parties according to the procedural and substantive law of the State of Texas. The arbitrator shall have the authority
to award any remedy or relief that a Texasslate court-or federal court could order or grant.

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16. ENTIRE AGREEMENT

The Agreement and the applicable Order(s} constitute the entire agreement between the parties for a License to use 6
Product, and will become binding upon Positive when signed by an authorized representative of Positive. Positive
shail not be bound by any additional provisions that may appear in Customer's purchase order, acknowledgement. of
the purchase order, or any other communication between Customer and Positive. There are no understandings,
agreements ‘or representations not-specified herein or in any Order with respect to's License or a Product licensed
hereunder, This Agreement or any Order may not be modified, except by a written addendum signed by duly
authorized representatives of both parties.

BY SIGNING BELOW, BOTH PARTIES AGREE TO ALL THE TERMS AND CONDITIONS SET FORTH

HEREIN,
For Positive Software Systems, Inc.: For Customer: 7 ”
By: By:
(Authorized Signanure) (Authorized Signature) ~
eye 2D Od ~
(Typed Name) (Typed Name)
Pees * Qedray Canby 2] q / Oo.
(Titley (Date) (Title) (aiey
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EXHIBIT "A"

INITIAL ORDER

Customer orders those items initialed below by Positive and agrees to pay the related
amounts: .

Extended Cost Products (initial Quantity) Initials

$no charge. . LoanForce Admin 5 users ©

$no. charge Davox OCX 140 users @®) “
@ Sa725° anFoteg Prodatt Subs ion\ 40 ers
Protated (Qetober N' — Dexember SJ” 2090)
18)94Q.00 . LodkForce Protuci Subscription {40 Togs (anne )
ame N\ Nass Se +31 $9901)
$3

TeleTrend Toolkit __ users
Extended Cost Maintenance Initials
DB Star, 1 contact,
DB Star / Customize years
Silver Maintenance years
Gold Maintenance years
Regular Maintenance 1 contact
Extended Cost Other Initials

CB 4933,800.08. ™N prdtegsiosargrstoes SG)

Extended Professional Services

For Positive Software Systems, Inc.: For Customer

By: By: ee
(Authorized Signature) -Aathorized Signature) \
(Typed Name) (Typed Name)
(Title) (Date) (Title) (Date)
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8. ®

EXHIBIT "B"
MAIN ANCE
Maintenance

As outlined by the previously executed Software License Agreoment(s).

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EXHIBIT "C™
INSTALLATION/PROFESSIONAL SERVIC

Installation Services

Integration of Existing Componerits ~ 11.5 Man Days (billing for 7 man-days)

- Existing Screens - 2
-. Campaign Filters - 5
- Disposition Grouping .5
~ Import ahd Suppression Rules - }
- Export Rules « .5

. OCX Telephony - .5
- Table Definitions (Product, Marketing Source, List) - 5
~ Sales Validation Rules Definition - .5

- Reports ~2
- SQL Data Types ~ 1.5
- DNS Configure - .5
- Credit Bureau - .5
- Scripts— 1
On-Site Installation, Testing and Training - 12 man-days
SQL Server 7 Install and Configure
~ SQL Schema and Data Conversion
- OCX Agent Component Install
\ Dialing Functionality Testing
- DNS Import and Configure
- Agents Setup.
- Credit Bureau Testing
- Training
- Production Testing

Extended Services.

- Develop 4 New User Screens upon customer specifications — 4 man-days
- Schédule Callbacks with Davox integration (requires assistance from Davox)—2 man-days

Ongoing Services
Following services may be ordered at any time during the term of the Subscription Agreement for
additional cost:

- Screen Development/Modification ~ $750,00-per screen.

- File Formats Creation/Modification - $500.00 per format.
- Report Development - $1000.00 per report.

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